 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 AJAY KRISHNAMURTHY (CABN 305533)
   KEVIN J. BARRY (CABN 229748)
 5 LINA Y. PENG (NYBN 5150032)
   Assistant United States Attorneys
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 8        FAX: (415) 436-7234
          Email: ajay.krishnamurthy@usdoj.gov
 9
   Attorneys for United States of America
10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                             ) CASE NO. 17-CR-533-EMC
                                                           )
15            Plaintiff,                                   )
                                                           )
16       v.                                                ) Motion for Leave to File Motion for Reconsideration;
                                                           ) [Proposed] Order
17   JONATHAN JOSEPH NELSON et al,                         )
                                                           )
18            Defendants.                                  )
                                                           )
19

20            The United States respectfully moves for leave to file a motion for reconsideration of this
21 Court’s January 13, 2021 discovery order. See ECF No. 1419 (minute entry).

22       I.       Argument
23            A. Applicable Legal Standards
24            Northern District Criminal Rules 2-1, 47-1 and 47-2, together with Civil Rule of Court 7-9,
25 authorize a motion for leave to file a motion for reconsideration in specified circumstances. The Court’s

26 rules require a party to first seek leave of Court. Civil L.R. 7-9(a). The party seeking reconsideration

27 must also show reasonable diligence in seeking the relief. Civil L.R. 7-9(b). One of the grounds for

28 relief is “[a] manifest failure by the Court to consider material facts or dispositive legal arguments which

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 1 were presented to the Court before such interlocutory order.” Civil L.R. 7-9(b)(3). In addition, the Ninth

 2 Circuit has held that district courts have “inherent power” to grant motions for reconsideration in

 3 criminal cases. United States v. Lopez-Cruz, 730 F.3d 803, 811 (9th Cir. 2013).

 4           B. The United States Has Been Reasonably Diligent

 5           The United States has been reasonably diligent in seeking leave to file a motion for

 6 reconsideration. “A motion for reconsideration is timely presented if filed within the original period for

 7 review,” United States v. Villapudua-Perada, 896 F.2d 1154, 1156 (9th Cir. 1990) (citation omitted),

 8 which is thirty days, 18 U.S.C. § 3731. This motion is being filed 19 days after the Court entered its

 9 discovery order. This falls well within the thirty days that the United States has to file its Notice of

10 Appeal.1 Villapudua-Perada, 896 F.2d at 1156 (“Because the time to appeal a dismissal of an indictment

11 is thirty days, the time for the government to move for reconsideration of the dismissal is also thirty

12 days.”).

13           C. This Court Should Exercise Its Discretion to Reconsider Its Discovery Order

14           This Court should exercise its discretion to reconsider its January 13, 2021 discovery order

15 because of a “manifest failure . . . to consider material facts or dispositive legal arguments which were

16 presented to the Court.” Specifically, prior to the Court’s discovery order, the United States had argued

17 that the Jencks Act and Federal Rule of Criminal Procedure 16(a)(2) precluded any order requiring the

18 immediate production of (1) Jencks Act material, and (2) law enforcement reports that could identify

19 civilian witnesses. ECF No. 1191 at 2-3 (Reply In Support of United States’ Appeal of Discovery

20 Order). The United States had also argued that “[t]he actual scope of [its] appeal [was] narrow” because

21 it sought only to protect a limited universe of materials where it “believe[d] the risk of harassment or

22 intimidation to witnesses [was] acute.” Id. at 5. Neither the Jencks Act nor Federal Rule of Criminal

23 Procedure 16(a)(2) were addressed in the Court’s January 13, 2021 discovery order. ECF No. 1419

24 (minute entry).

25 //

26 //

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             1
28           For the purposes of filing a Notice of Appeal, the United States considers the Proposed Motion
     for Reconsideration filed as of this date. United States v. Ibarra, 502 U.S. 1, 7 (1991).
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 1       II.      Conclusion

 2             For the foregoing reasons, the United States respectfully requests the Court to grant this motion.

 3

 4 DATED: February 1, 2021                                          Respectfully submitted,

 5                                                                  DAVID L. ANDERSON
                                                                    United States Attorney
 6

 7
                                                                    _/s/_________________
 8                                                                  AJAY KRISHNAMURTHY
                                                                    KEVIN J. BARRY
 9                                                                  LINA Y. PENG
                                                                    Assistant United States Attorneys
10

11

12
                                                   [PROPOSED] ORDER
13
               The Court GRANTS this motion for leave to file the motion for reconsideration. The United
14
     States’ Motion for Reconsideration is ordered filed.
15

16

17
     DATED: _____________                                      _____________________________________
18                                                             HON. EDWARD M. CHEN
                                                               United States District Judge
19

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